         UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF TENNESSEE


                      PHILLIP DEWAYNE OSBORNE
In re:                                                            Case No:           10-12174-RSM
                      SONIA RENEE OSBORNE
                                                                  Chapter:           13
                      RESPONSE TO NOTICE OF FINAL CURE PAYMENT


Name of Creditor: Nationstar Mortgage LLC              XXXXXX4234

                                                       Court Claim No. (if known): 6
Part 1: Status of Payments on Claim and Post-Petition Payments
In response to the Trustee’s Notice of Final Cure Payment, Creditor states that:

Section A: Status of Claim Amounts (Choose ONE in Section A)
 As of February 19, 2015, Debtor(s) has paid in full the amount required to cure the default on the
Creditor’s claim

As of February 19, 2015, Debtor(s) has not paid in full the amount required to cure the default on the
Creditor’s claim. The Creditor contends that the amounts itemized in Part 2 below remain unpaid.



Section B: Status of Post-Petition Payment, Fees, Expenses and Charges (Choose ONE in Section B)

 Post-Petition Payments Paid by Trustee

     As of February 19, 2015, the account reflects the trustee’s records and is due for March 1, 2015.


    As of February 19, 2015, the account does not reflect the trustee records and is not current on all
   post-petition payments, fees, expenses and/or charges. The Creditor contends that the post-petition
   payments, fees, expenses and charges itemized in Part 3 below remain unpaid




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Part 2: Itemization of Claim Amounts not Cured by Debtor(s)

Description
1. Late charges                                                                                   $0.00
2. Non-sufficient funds (NSF) fees                                                                $0.00
3. Attorney's fees                                                                                $0.00
4. Filing fees and court costs                                                                    $0.00
5. Advertisement costs                                                                            $0.00
6. Sheriff/auctioneer fees                                                                        $0.00
7. Title costs                                                                                    $0.00
8. Recording fees                                                                                 $0.00
9. Appraisal/broker's price opinion fees                                                          $0.00
10. Property inspection fees                                                                      $0.00
11. Tax advances (non-escrow)                                                                     $0.00
12. Insurance advances (non-escrow)                                                               $0.00
13. Property preservation expenses                                                                $0.00
14. Escrow shortage or deficiency (not included as
                                                                                                  $0.00
part of any installment payment listed in line item 15
15. Past Due Payments


                      Past due payments prior to November 9, 2010 in the total amount of $0.00

Number of installments:           Date:                             Payment:
                                  Total payments due:               $0.00



16. Other. Specify:                                                                               $0.00
17. Other. Specify:                                                                               $0.00
18. Unapplied Funds                                                                              ($0.00)
19. Total Claim Amounts not cured by Debtor(s). Add all of the
                                                                                                  $0.00
amounts listed above




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Part 3: Itemization of Post-Petition Payments, Fees, Expenses and Charges not Cured by Debtor(s)

Description                                                                          Amount
1. Late charges                                                                                      $0.00
2. Non-sufficient funds (NSF) fees                                                                   $0.00
3. Attorney's fees                                                                                   $0.00
4. Filing fees and court costs                                                                       $0.00
5. Advertisement costs                                                                               $0.00
6. Sheriff/auctioneer fees                                                                           $0.00
7. Title costs                                                                                       $0.00
8. Recording fees                                                                                    $0.00
9. Appraisal/broker's price opinion fees                                                             $0.00
10. Property inspection fees                                                                         $0.00
11. Tax advances (non-escrow)                                                                        $0.00
12. Insurance advances (non-escrow)                                                                  $0.00
13. Property preservation expenses                                                                   $0.00
14. Escrow shortage or deficiency (not included as
                                                                                                     $0.00
part of any installment payment listed in line item 15
15. Past Due Payments



                                    Escrow Advance on the account?

                                          No
                                          Yes – Escrow advance balance on the account is _________
                                          and will be collected through the escrow portion of the ongoing
                                          monthly installments.



                 Past due payments prior to February 19, 2015 in the total amount of $0.00.



Number of installments:           Date:                              Payment:
                                  Total payments due:                $0.00




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16. Other. Specify:                                                                      $0.00
17. Other. Specify:                                                                      $0.00
18. Unapplied Funds                                                                     ($0.00)
19. Total post-petition payments, fees, expenses and charges not
                                                                                         $0.00
cured by Debtor(s).


                                                   /s/ Bonnie Culp
                                                   Bonnie Culp
                                                   TN State Bar No.: 014741
                                                   SHAPIRO & INGLE, L.L.P.
                                                   10130 Perimeter Parkway, Suite 400
                                                   Charlotte, NC 28216
                                                   TNECF@logs.com
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE MIDDLE
                                           MIDDLE

IN RE:

    PHILLIP DEWAYNE OSBORNE                                              10-12174
    SONIA RENEE OSBORNE                                                CHAPTER 13



                                    CERTIFICATE OF SERVICE

         I hereby certify that I have this day served the foregoing and annexed pleading or paper upon:

                                          (Served via U.S. Mail)
                             Phillip Dewayne Osborne and Sonia Renee Osborne
                                         4709 Murfreesboro Road
                                            Franklin, TN 37067

                              (Served via Electronic Notification Only)
                                     Mary Elizabeth Ausbrooks
                                      Rothschild & Ausbrooks
                                        1222 16th Ave South
                                              Suite 12
                                        Nashville, TN 37212

                              (Served via Electronic Notification Only)
                                    Henry Edward Hildebrand, III
                                   Office of the Chapter 13 Trustee
                                           PO Box 340019
                                     Nashville, TN 37203-0019



by depositing the same in a postpaid wrapper properly addressed to each such party or his attorney of
record in a post office or other official depository under the exclusive care and custody of the United
States Postal Service and/or by electronic mail, if applicable.

         This the 19th day of February, 2015.
                                                /s/ Bonnie Culp
                                                Bonnie Culp
                                                TN State Bar No.: 014741
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